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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY;
DEFENDERS OF WILDLIFE; ANIMAL LEGAL
DEFENSE FUND,
                                                               Civil Action No. 1:19-cv-00408 (TNM)
                               Plaintiffs,

        v.

DONALD J. TRUMP, in his official capacity as
President of the United States of America; PATRICK
M. SHANAHAN, in his official capacity as Acting
Secretary of Defense; STEVEN MNUCHIN, in his
official capacity as Secretary of the Department of
Treasury; KIRSTJEN M. NIELSEN, in her official
capacity as Homeland Security Secretary; DAVID
BERNHARDT, in his official capacity as Acting
Secretary of the Interior,

                               Defendants.

                            DEFENDANTS’ MOTION TO DISMISS

        Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants respectfully

move to dismiss Plaintiffs’ Complaint for lack of subject-matter jurisdiction and for failure to state a

claim upon which relief can be granted. The bases for this Motion are set forth in the accompanying

Memorandum of Points and Authorities in Support of Defendants’ Motion to Dismiss. A proposed

order is also attached.

Dated: April 2, 2019
                                                    Respectfully submitted,

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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY;
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Secretary of the Interior,

                             Defendants.


        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                 DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

        On February 15, 2019, the President issued a proclamation declaring that a national emergency

exists at the southern border.     See Presidential Proclamation on Declaring a Nat’l Emergency

Concerning the S. Border of the United States, 84 Fed. Reg. 4949 (Feb. 15, 2019) (Proclamation).

Because the southern border is “a major entry point for criminals, gang members, and illicit narcotics”

as well as “large-scale unlawful migration,” the President determined that “[t]he current situation at

the southern border presents a border security and humanitarian crisis that threatens core national

security interests and constitutes a national emergency.” Id. As the President recently explained, tens

of thousands of aliens are apprehended along the southern border each month and thousands of

pounds of illegal drugs are smuggled across the border each year while, at the same time, migrants

have begun organizing into caravans that include large numbers of families and unaccompanied

children from Central American countries. See Veto Message for H.J. Res. 46 (Mar. 15, 2019).

        The Government has been building barriers along the southern border since the 1990s

pursuant to congressional authorization. To address the current national emergency at the southern

border, three statutory authorities and sources of funding have been identified to continue the

construction of additional barriers, in addition to the $1.375 billion recently appropriated by Congress

for such construction: (1) the Treasury Forfeiture Fund (31 U.S.C. § 9705); (2) the Department of

Defense’s (DoD) counter-drug support authority (10 U.S.C. § 284); and (3) the authority to reallocate

funding from military construction projects, made available through the President’s national

emergency declaration (10 U.S.C. § 2808). Only the last source of statutory authority—§ 2808—

depends on the President’s national emergency declaration. The other two sources of authority—

§§ 9705 and 284—are available regardless of the emergency at the southern border.

        The Proclamation follows a forty-year tradition of multiple Presidents of both parties declaring

national emergencies to address a wide range of problems. Indeed, many of the declarations


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concerned situations that did not involve suddenly emerging threats or the sort of national crisis that

currently exists on the southern border. Thus, for example, President Obama declared a national

emergency to address “political repression” in Burundi, Exec. Order No. 13712, 80 Fed. Reg. 73633

(Nov. 23, 2015); President George W. Bush declared a national emergency to address the

“fundamentally undemocratic March 2006 elections” in Belarus, Exec. Order No. 13405, 71 Fed. Reg.

35485 (June 16, 2006); and President Clinton declared a national emergency because “the Government

of Burma has committed large-scale repression of the democratic opposition in Burma,” Exec. Order

No. 13047, 62 Fed. Reg. 28301 (May 22, 1997). And Presidents similarly have used this power to

address longstanding problems, such as when George H.W. Bush declared a national emergency in

1990 to address the “proliferation of chemical and biological weapons” around the world. Exec.

Order No. 12735, 55 Fed. Reg. 48587 (Nov. 16, 1990). President Trump’s Proclamation concerning

the national emergency at our Nation’s southern border is neither unprecedented nor fundamentally

different from past uses of the same authority by his predecessors, and is in fact more closely tied to

exigent circumstances.

        Plaintiffs seek to challenge the Proclamation and the Government’s reliance on all three

statutory authorities in addressing the border crisis, but the Court lacks jurisdiction to do so, and the

complaint fails to state claims upon which relief may be granted. As a threshold matter, judicial review

of the Proclamation is not available under the National Emergencies Act (NEA), and in any event,

such challenges raise political questions that courts are not equipped to answer, as courts

overwhelmingly have recognized. Moreover, independent separation-of-powers concerns require

dismissal of the President as a defendant because there is no cause of action against the President, and

Plaintiffs may not obtain equitable relief directly against the President for his official conduct,

particularly where, as here, relief could be provided by subordinate agency officials. Plaintiffs also lack

standing to challenge DoD’s use of its § 2808 authority, as the Acting Secretary of Defense has not

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  yet decided to undertake or authorize any barrier construction projects under § 2808.

         Plaintiffs’ nonstatutory ultra vires claims alleging the Government acted in excess of its

 authority under §§ 9705, 284, and 2808 also fail. In addition to the fact that Plaintiffs cannot obtain

 relief against the President, these claims should be dismissed because the Administrative Procedure

 Act (APA) provides a congressionally authorized cause of action to challenge agency decisionmaking.

 Plaintiffs cannot evade the APA via the narrow doctrine of nonstatutory review of alleged ultra vires

 action. Even if Plaintiffs could rely on the ultra vires framework, this is not the exceptional case where

 nonstatutory review is available to address a violation of a clear and mandatory statutory requirement.

         Finally, Plaintiffs’ constitutional claims should be dismissed because they merely repackage

 claims of statutory violations in constitutional terms. Defendants are relying on express congressional

 authorization to fund border construction, not the President’s independent Article II authority.

 Plaintiffs’ effort to reframe alleged statutory violations as independent violations of the

 Appropriations and Take Care Clauses contravenes the principle that “claims simply alleging that the

 President has exceeded his statutory authority are not ‘constitutional’ claims.” Dalton v. Specter, 511

 U.S. 462, 473 (1994).

         For these reasons, as explained further below, Plaintiffs’ complaint should be dismissed.

                                            BACKGROUND

I.       Congress’s Express Authorization of Barrier Construction Along the U.S.-
         Mexico Border


         In 1990, the U.S. Border Patrol, with the assistance of the National Guard, began construction

 of a border fence near San Diego under the authority Congress granted to the Attorney General “to

 control and guard the boundaries and borders of the United States against the illegal entry of aliens.”

 8 U.S.C. § 1103(a)(5); see D & D Landholdings v. United States, 82 Fed. Cl. 329, 332 (2008). Since then,

 Congress repeatedly has authorized the construction of border barrier infrastructure to prevent illegal


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entry of people and contraband. In 1996, Congress passed the Illegal Immigration Reform and

Immigrant Responsibility Act (IIRIRA), which authorizes the Secretary of Homeland Security to “take

such actions as may be necessary to install additional physical barriers and roads (including the removal

of obstacles to detection of illegal entrants) in the vicinity of the United States border to deter illegal

crossings in areas of high illegal entry into the United States.” Pub. L. No. 104-208, Div. C., Title I

§ 102(a), 110 Stat. 3009 (1996), as amended (codified at 8 U.S.C. § 1103 note).

        Since then, Congress has amended IIRIRA on three occasions to expand the Government’s

authority to construct barriers along the southern border. In 2005, Congress passed the REAL ID

Act of 2005, Pub. L. No. 109-13, Div. B, Title I § 102, 119 Stat. 231, 302, 306 (2005), which authorized

the Secretary of Homeland Security to “to waive all legal requirements” that, in the “Secretary’s sole

discretion,” are “necessary to ensure expeditious construction” of barriers and roads. Id. § 102(c)(1).

Congress again amended IIRIRA as part of the Secure Fence Act of 2006, requiring construction of

“physical barriers, roads, lights, cameras, and sensors” across hundreds of miles of the southern border

in five specified locations. Pub. L. No. 109-367, § 3, 120 Stat. 2638 (2006). In 2007, Congress

expanded this requirement and directed “construct[ion of] reinforced fencing along not less than 700

miles of the southwest border.” Consolidated Appropriations Act, 2008, Pub. L. No. 110-161, Div.

E, Title V § 564, 121 Stat. 2090 (2007).

        Relying on these authorities, the Department of Homeland Security (DHS) has installed 705

miles of vehicle and pedestrian barriers along the southern border since 1996. 1 See U.S. Border Patrol

Mileage of Pedestrian and Vehicle Fencing by State, www.cbp.gov/document/stats/us-border-patrol-




1
  The Court may consider facts outside the complaint on a motion to dismiss without converting the
motion into a motion for summary judgment when the facts are subject to judicial notice. Kaempe v.
Myers, 367 F.3d 958, 965 (D.C. Cir. 2004). The Court may take judicial notice of the publicly available
information on official government websites cited herein. See Dinh Tran v. Dep’t of Treasury, 351 F.
Supp. 3d 130, 133 n.5 (D.D.C. 2019); Al-Aulaqi v. Panetta, 35 F. Supp. 3d 56, 67 (D.D.C. 2014).
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  mileage-pedestrian-and-vehicle-fencing-state.     DHS’s efforts to construct border barriers under

  IIRIRA have been subject to a diverse array of legal challenges, but courts have uniformly dismissed

  every lawsuit. See, e.g., In re Border Infrastructure Envtl. Litig., 915 F.3d 1215 (9th Cir. 2019); N. Am.

  Butterfly Ass’n v. Nielsen, 2019 WL 634596 (D.D.C. Feb. 14, 2019); Save Our Heritage v. Gonzalez,

  533 F. Supp. 2d 58 (D.D.C. 2008); Defs. of Wildlife v. Chertoff, 527 F. Supp. 2d 119 (D.D.C. 2007), cert.

  denied, 554 U.S. 918 (2008).

II.       DHS’s Recent Efforts to Expedite Border Barrier Construction

          On January 25, 2017, the President issued an Executive Order directing federal agencies “to

  deploy all lawful means to secure the Nation’s southern border.” Border Security and Immigration

  Enforcement Improvements, Exec. Order No. 13767, 82 Fed. Reg. 8793 (Jan. 25, 2017). The

  Executive Order stated that it is the policy of the Executive Branch to “secure the southern border of

  the United States through the immediate construction of a physical wall on the southern border,

  monitored and supported by adequate personnel so as to prevent illegal immigration, drug and human

  trafficking, and acts of terrorism.” Id. The Order required that agencies “take all appropriate steps to

  immediately plan, design and construct a physical wall along the southern border,” including

  “[i]dentify and, to the extent permitted by law, allocate all sources of Federal funds” to that effort. Id.

  at 8794.

          In furtherance of these directives, DHS has worked to expedite construction of a variety of

  different border barrier projects over the past two years. See, e.g., Determination Pursuant to § 102 of

  the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, as Amended, 83 Fed. Reg.

  50949 (Oct. 10, 2018) (construction in Rio Grande Valley Sector of Texas); Determination Pursuant

  to § 102 of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, as Amended,

  83 Fed. Reg. 3012 (Jan. 22, 2018) (construction in New Mexico).




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III.      Congress’s Authorization for U.S. Military Support of DHS’s Border Security
          Efforts

          Congress also has expressly authorized the U.S. military to provide a wide range of support to

   DHS at the southern border, including the “construction of roads and fences and installation of

   lighting to block drug smuggling corridors across international boundaries of the United States.”

   10 U.S.C. § 284; see id. §§ 271–74. Since the early 1990s, military personnel have supported civilian

   law-enforcement agency activities to secure the border, counter the spread of illegal drugs, and

   respond to transnational organized crime and other transnational threats. See H. Armed Servs. Comm.

   Hr’g on S. Border Defense Support (Jan. 29, 2019) (Joint Statement of John Rood, Under Secretary

   of Defense for Policy, and Vice Admiral Michael Gilday, Director of Operations for the Joint Chiefs

   of Staff) (Joint Statement of Rood and Gilday), https://armedservices.house.gov/2019/1/

   department-of-defense-s-support-to-the-southern-border.       Active, Reserve, and National Guard

   personnel have provided a wide range of assistance, including aerial reconnaissance, ground

   surveillance, search and rescue, engineering, communications, and medical support. Id.

          Both Presidents Bush and Obama deployed military personnel to the southern border to

   support DHS’s border security efforts. In 2006, President Bush directed DoD to provide between

   3,000 and 6,000 National Guard personnel in support of CBP’s Operation Jump Start.                  Id.

   Additionally, President Obama directed DoD to provide up to 1,200 National Guard personnel

   annually from 2010 to 2016 in support of CBP’s Operation Phalanx. Id.

          For decades, U.S. military forces have played an active role in barrier construction and

   reinforcement during their deployments to the southern border. Military personnel were critical to

   construction of the San Diego border barrier in the early 1990s as well as other border fence projects.

   See H.R. Rep. No. 103-200, at 330–31, 1993 WL 298896 (1993) (commending DoD’s Joint Task Force

   6 for its role in construction of the San Diego primary fence); Hr’g Before the S. Comm. on Armed

   Servs. Subcomm. on Emerging Threats and Capabilities, 1999 WL 258030 (Apr. 27, 1999) (Test. of
                                                     6
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  Barry R. McCaffrey, Dir. of the Office of Nat’l Drug Control Policy) (“Since 1990, Joint Task Force-

  Six and Team Engineer of the California National Guard Counter Drug Directorate have constructed

  over 55 miles of barrier fencing in urban areas and 10 miles of . . . barriers in rural settings.”). In 2006,

  the National Guard improved the southern border security infrastructure by building more than 38

  miles of fence, 96 miles of vehicle barrier, more than 19 miles of new all-weather road, and road repairs

  exceeding 700 miles. See Joint Statement of Rood and Gilday. More recently, the U.S. Army Corps

  of Engineers (USACE) has assisted DHS by providing planning, engineering, and barrier construction

  support. See, e.g., Gringo Pass, Inc. v. Kiewit Sw. Co., 2012 WL 12905166, at *1 (D. Ariz. Jan. 11, 2012).

IV.       DoD’s Current Support for DHS’s Efforts to Secure the Southern Border

          Building on this decades-long practice, on April 4, 2018, the President issued a memorandum

  to the Secretary of Defense, Secretary of Homeland Security, and the Attorney General titled,

  “Securing the Southern Border of the United States.” Presidential Memorandum, 2018 WL 1633761

  (Apr. 4, 2018). The President stated “[t]he security of the United States is imperiled by a drastic surge

  of illegal activity on the southern border” and pointed to the “anticipated rapid rise in illegal

  crossings,” as well as “the combination of illegal drugs, dangerous gang activity, and extensive illegal

  immigration.” Id. The President determined the situation at the border had “reached a point of crisis”

  that “once again calls for the National Guard to help secure our border and protect our homeland.”

  Id. To address this crisis, the President directed the Secretary of Defense to support DHS in “securing

  the southern border and taking other necessary actions to stop the flow of deadly drugs and other

  contraband, gang members and other criminals, and illegal aliens into this country.” Id. The President

  also directed the Secretary of Defense to request the use of National Guard personnel to assist in

  fulfilling this mission. Id. Since April 2018, National Guard personnel have performed a range of

  administrative, logistical, and operational tasks in support of CBP’s Operation Guardian Support. See

  Joint Statement of Rood and Gilday.


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         In October 2018, the President expanded the military’s support to DHS to include active duty

  military personnel. See id. Since then, active duty personnel have provided a range of support to DHS,

  including aviation and engineering support, hardening U.S. ports of entry, erecting temporary barriers,

 and emplacing concertina wire. See id. As of mid-March 2019, approximately 4,000 active duty

 personnel and 2,000 National Guard personnel were stationed at the southern border. See Hr’g on

 DoD’s Budget Posture, S. Comm. on Armed Servs. (Mar. 14, 2019) (Test. of Gen. Joseph Dunford,

 Chairman of the Joint Chiefs of Staff).

V.       The President’s Proclamation Declaring a National Emergency at the
         Southern Border

         On February 15, 2019, in accordance with requirements of the NEA, 50 U.S.C. § 1601 et seq.,

 the President issued a proclamation declaring that “a national emergency exists at the southern border

 of the United States.” See Proclamation. The President determined that “[t]he current situation at the

 southern border presents a border security and humanitarian crisis that threatens core national security

 interests and constitutes a national emergency.” Id. The President explained:

         The southern border is a major entry point for criminals, gang members, and illicit
         narcotics. The problem of large-scale unlawful migration through the southern border
         is long-standing, and despite the executive branch’s exercise of existing statutory
         authorities, the situation has worsened in certain respects in recent years. In particular,
         recent years have seen sharp increases in the number of family units entering and
         seeking entry to the United States and an inability to provide detention space for many
         of these aliens while their removal proceedings are pending. If not detained, such
         aliens are often released into the country and are often difficult to remove from the
         United States because they fail to appear for hearings, do not comply with orders of
         removal, or are otherwise difficult to locate.

 Id. The President noted that in response to his April 4, 2018 memorandum, DoD has provided

 support and resources to DHS at the southern border. Id. Despite these efforts, “because of the

 gravity of the current emergency situation,” the President determined that “this emergency requires

 use of the Armed Forces” and “it is necessary for the Armed Forces to provide additional support to

 address the crisis.” Id.


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        To achieve its purpose, the Proclamation invokes and makes available two statutory authorities

to be exercised by DoD as appropriate. First, the Proclamation makes available the authority under

10 U.S.C. § 12302 to order units or members of the Ready Reserve to active duty.                  See id.;

10 U.S.C. § 12302(a). Second, the Proclamation makes available to the Acting Secretary of Defense

the authority under 10 U.S.C. § 2808, which provides that, “without regard to any other provision of

law,” the Secretary of Defense “may undertake military construction projects, and may authorize the

Secretaries of the military departments to undertake military construction projects, not otherwise

authorized by law that are necessary to support such use of the armed forces.”                    See id.;

10 U.S.C. § 2808(a). The Proclamation directs the Secretaries of Defense, Interior, and Homeland

Security and, subject to the Acting Secretary of Defense’s discretion, the Secretaries of the Military

Departments, to “take all appropriate actions, consistent with applicable law, to use or support the

use of the authorities . . . invoked, including, if necessary, the transfer and acceptance of jurisdiction

over border lands.” See Proclamation.

        On March 15, 2019, the President vetoed a joint resolution passed by Congress that would

have terminated the President’s national emergency declaration. See Veto Message. In doing so, the

President relied upon statistics published by CBP as well as recent congressional testimony by the

Secretary of Homeland Security to reaffirm that a national emergency exists along the southern border.

See id. The President highlighted (1) the recent increase in the number of apprehensions along the

southern border, including 76,000 CBP apprehensions in February 2019, the largest monthly total in

the last five years; (2) CBP’s seizure of more than 820,000 pounds of drugs in fiscal year 2018; and (3)

arrests of 266,000 aliens previously charged with or convicted of crimes in fiscal years 2017 and 2018.

See id. The President also emphasized that migration trends along the southern border have changed

from primarily single adults from Mexico, who could be easily removed upon apprehension, to

caravans that include record numbers of families and unaccompanied children from Central America.

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  See id. The President explained that this shift requires frontline border enforcement personnel to

  divert resources away from border security to humanitarian efforts and medical care. See id. Further,

  the President stated that criminal organizations are taking advantage of the large flows of families and

  unaccompanied minors to conduct a range of illegal activity. See id. With new surges of migrants

  expected in the coming months, the President stated that border enforcement personnel and resources

  are strained “to the breaking point.” See id. The President concluded that the “situation on our border

  cannot be described as anything other than a national emergency, and our Armed Forces are needed

  to help confront it.” See id.

VI.         The Use of Spending Authorities for Barrier Construction

            On the same day the President issued the Proclamation, the White House publicly released a

  fact sheet setting forth the sources of funding that are to be used to construct additional barriers along

  the southern border. In addition to the $1.375 billion appropriation in the Fiscal Year 2019

  Consolidated Appropriations Act for the construction of border barriers in the Rio Grande Valley

  sector of Texas, see Pub. L. No. 116-6, § 230, 133 Stat. 13 (2019), the fact sheet identifies the following

  additional sources of funding for potential barrier construction, which it explains will be used

  sequentially and as needed:

            A. About $601 million from the Treasury Forfeiture Fund;

            B. Up to $2.5 billion under the Department of Defense funds transferred for Support for
               Counterdrug Activities (10 U.S.C. § 284);

            C. Up to $3.6 billion reallocated from Department of Defense military construction projects
               under the President’s declaration of a national emergency (10 U.S.C. § 2808).

  See      President   Donald     J.   Trump’s     Border     Security    Victory     (Feb.    15,    2019),

  www.whitehouse.gov/briefings-statements/president-donald-j-trumps-border-security-victory (Fact

  Sheet 1); see also The Funds Available To Address The Nat’l Emergency At Our Border (Feb. 26,

  2019),        www.whitehouse.gov/briefings-statements/funds-available-address-national-emergency-

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  border (Fact Sheet 2).

                                      STATUTORY FRAMEWORK

I.      National Emergencies Act

            The NEA, Pub. L. No. 94-412, 90 Stat. 1255 (1976) (codified as amended at 50 U.S.C. §§

  1601-1651), was an effort by Congress to “establish procedural guidelines for the handling of future

     emergencies with provision for regular Congressional review.” S. Rep. No. 94-922, at 1 (1976). 2 Title

  II of the NEA—codified at 50 U.S.C. § 1621—prescribes rules for the declaration of national

  emergencies by the President. Section 1621(a) authorizes the President to “declare [a] national

  emergency” with respect to statutes “authorizing the exercise, during the period of a national

  emergency, of any special or extraordinary power.” 50 U.S.C. § 1621(a). Section 1621(b) states that

  “[a]ny provisions of law conferring powers and authorities to be exercised during a national emergency

  shall be effective and remain in effect (1) only when the President (in accordance with subsection (a)

  of this section), specifically declares a national emergency, and (2) only in accordance with [the NEA].”

  Id. § 1621(b).

            Congress did not define the term “national emergency” or place any conditions on the

  President’s ability to declare a national emergency.          Instead, Congress intentionally left this

  determination to the President. As the co-chairmen of the Special Congressional Committee on

 National Emergencies that studied the issue and drafted the NEA explained, “[W]e did review this

 possibility of defining what national emergencies might be comprehended; and we decided you would

 cause more trouble by trying to define it than just saying ‘national emergency’ . . .”. We felt it would



  2
   The NEA was the culmination of a multi-year effort by Congress to examine the field of emergency
 statutes and procedures. See S. Comm. on Gov’t Operations & the Special Comm. on Nat’l
 Emergencies and Delegated Emergency Powers, 94th Cong., 2d Sess., The National Emergencies Act
 Source Book: Legislative History, Texts, and Other Documents, at 3–9 (1976) (summarizing legislative
 history of NEA from 1972–1976, including extensive work conducted by the Senate Special
 Committee on National Emergencies) (hereinafter “NEA Source Book”).
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be wrong to try to circumscribe with words with what conditions a President might be confronted.”

Nat’l Emergencies Act: Hr’gs Before the Subcomm. on Admin. Law and Governmental Relations,

94th Cong. 27 (March 6, 1975) (statement of Sen. Mathias); see id. at 31 (“[W]e didn’t attempt to define

it specifically because we were afraid we would circumscribe the President’s constitutional powers.”);

see id. at 27 (statement of Sen. Church) (“[O]nce we got into that thicket [of defining a national

emergency] it became evident that we would be creating more problems than we would be solving.”).

And during the final debate on the NEA, the House of Representatives specifically rejected an

amendment that would have limited the circumstances in which the President could declare a national

emergency to times of war or attacks upon the United States only. See NEA Source Book at 278–80;

see id. at 280 (statement of Rep. Moorhead) (“[T]his amendment would completely take away from the

President the flexibility of acting in times of crisis or an emergency” and “it is important that we give

our President some flexibility from time to time.”). At the time of its passage, Congress therefore

expressly recognized that the NEA “makes no attempt to define when a declaration of national

emergency is proper.” Id. at 9 (quoting S. Rep. No. 94-1168).

        The NEA was “an effort by the Congress to establish clear procedures and safeguards for the

exercise by the President of emergency powers conferred upon him by other statutes.” See S. Rep.

No. 94-1168, at 3 (1976). Accordingly, the NEA provides that “[w]hen the President declares a

national emergency, no powers or authorities made available by statute for use in the event of an

emergency shall be exercised unless and until the President specifies the provisions of law under which

he proposes that he, or other officers will act.” 50 U.S.C. § 1631. The NEA thus establishes

procedural guidelines for the President to follow before he may invoke other statutory authorities.

        In the more than 40 years since Congress enacted the NEA, Presidents have exercised broad

discretion in determining what challenges amount to national emergencies, declaring nearly 60 national

emergencies addressing a wide variety of national and international challenges. For example, prior

                                                   12
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national emergency declarations have authorized the invocation of statutory powers to restrict the

trade in uncut diamonds used to fund Sierra Leone’s civil war, Exec. Order No. 13194,

66 Fed. Reg. 7389 (Jan. 18, 2001), to address the spread of swine flu in the United States, Proc. No.

8443, 74 Fed. Reg. 55439 (Oct. 23, 2009), and to promote democracy or conflict resolution in various

countries around the world, see, e.g., Exec. Order No. 13712, 80 Fed. Reg. 73633 (Nov. 22, 2015)

(President Obama declared a national emergency to address “violence against civilians” and “political

repression” in Burundi).

       The NEA also authorizes the President to renew declared emergencies annually without

limitation. See 50 U.S.C. § 1622(d). Thirty-one national emergencies remain in effect today, with many

having been renewed by multiple Presidents over several decades. For example, President Clinton

declared a national emergency in 1996 after Cuban military aircraft intercepted and destroyed two

unarmed U.S.-registered civilian aircraft in international airspace north of Cuba. See Proc. No. 6867,

61 Fed. Reg. 8843 (Mar. 1, 1996). The emergency remains in effect today, having been renewed over

the course of 23 years by Presidents Bush, Obama, and Trump, even though President Obama

concluded in 2016 that “the descriptions of the national emergency set forth in Proclamations 6867

and 7757 no longer reflect the international relations of the United States related to Cuba.” See Proc.

No. 9398, 81 Fed. Reg. 9737 (Feb. 24, 2016). Indeed, the first national emergency declared under the

NEA—President Carter’s 1979 emergency declaration stemming from the Iran hostage crisis—has

been in effect for 39 years and is now being continued because “relations with Iran have not yet

normalized, and the process of implementing the agreements with Iran, dated January 19, 1981, is

ongoing.” See Cont. of Nat’l Emergency With Respect to Iran, 2016 WL 6518765 (Nov. 3, 2016) (Ltr.

from President Obama); see also 83 Fed. Reg. 56251 (Nov. 8, 2018) (renewal by President Trump).

       Nothing in the NEA requires that a national emergency be a sudden or unforeseen event, as

some emergencies build through an accretion of events and exist over a considerable period of time.

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In 1990, for example, President George H. W. Bush declared a national emergency arising from the

“proliferation of chemical and biological weapons” around the world. Exec. Order No. 12735, 55

Fed. Reg. 48587 (Nov. 16, 1990). Four years later, President Clinton added nuclear weapons

proliferation to that emergency declaration. Exec. Order No. 12938, 59 Fed. Reg. 58099 (Nov. 14,

1994). President Clinton also declared a national emergency arising from narcotics trafficking centered

in Colombia, Exec. Order No. 12978, 60 Fed. Reg. 54579 (Oct. 21, 1995), and President Obama

declared a national emergency arising from the activities of certain transnational criminal

organizations, Exec. Order No. 13581, 76 Fed. Reg. 44757 (July 24, 2011). These declarations, like

the President’s Proclamation, addressed long-standing policy challenges confronting the United States,

even though they were neither new nor unforeseen at the time they were declared to be a national

emergency. Indeed, the President’s Proclamation acknowledged that the situation at the southern

border is a “long-standing” problem and builds on previous efforts of President Obama to use

emergency powers to address the threats along the southern border by declaring a national emergency

targeting a Mexican cartel known as Los Zetas. See id.

        Recognizing that, by their very nature, declarations of national emergency require the need for

flexibility in policy choices that are the province of the political branches of the federal government,

Congress gave itself the exclusive authority to exercise oversight of a President’s national emergency

declaration. As a remedy to potential overreach, Congress has authority to terminate a national

emergency by enacting into law “a joint resolution.” 50 U.S.C. § 1622(a)(1). 3 Emphasizing the political




3
  The original draft of the NEA would have automatically terminated a national emergency after six
months unless extended by an act of Congress. See NEA Source Book at 7. Congress eliminated this
provision during debate and replaced it with the requirement that Congress pass a “concurrent
resolution” to terminate a national emergency. See id.; Beacon Prods. Corp. v. Reagan, 814 F.2d 1, 4 (1st
Cir. 1987) (Breyer, J.). In 1985, Congress amended this provision and replaced the “concurrent
resolution” requirement with one that calls for termination of a national emergency by “joint
resolution.” Pub. L. No. 99-93, § 801, 99 Stat. 405, 448 (1985). This amendment was the result of
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  judgment that Congress must make, the NEA expressly requires Congress to meet “[n]ot later than

  six months after a national emergency is declared, and not later than the end of each six-month period

  thereafter that such emergency continues, . . . to consider a vote on a joint resolution to determine

  whether that emergency shall be terminated.” Id. § 1622(b); see also id. § 1622(c) (establishing procedure

  for both Houses of Congress to vote on a joint resolution terminating a national emergency).

  Additionally, Congress has imposed extensive reporting requirements on the Executive Branch when

  the President declares a national emergency. See id. § 1641(a)–(b) (requiring the President and each

  executive agency to maintain a file and index of, and transmit to Congress, certain orders, rules, and

  regulations); id. § 1641(c) (requiring the President to periodically transmit to Congress “a report on

  the total expenditures incurred by the United States Government . . . which are directly attributable to

  the exercise of powers and authorities conferred by such declaration”). The NEA does not provide

  any role for the courts in reviewing a national emergency declaration, as it does not create a private

  right of action or contain a civil enforcement mechanism.

II.       The Treasury Forfeiture Fund and 31 U.S.C. § 9705

          The Department of Treasury Forfeiture Fund (TFF) collects proceeds from “seizures and

  forfeitures made pursuant to any law (other than section 7301 or 7302 of the Internal Revenue Code

  of 1986) enforced or administered by the Department of the Treasury or the United States Coast

  Guard.” 31 U.S.C. § 9705(a). Congress established the fund in 1992, and the authorizing legislation,

  31 U.S.C. § 9705, sets forth the purposes for which the fund’s revenue may be used. See S. Rep. No.

  102-398 (1992). As relevant here, § 9705(g)(4)(B) states that any surplus unobligated funds (after

  reserving certain statutorily required amounts) “shall be available to the Secretary, without fiscal year

  limitation, . . . for obligation or expenditure in connection with the law enforcement activities of any


  the Supreme Court’s decision in INS v. Chadha, 462 U.S. 919, 959 (1983), which invalidated a similar
  provision as unconstitutional. See United States v. Amirnazmi, 645 F.3d 564, 581 n.26 (3d Cir. 2011).

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   Federal agency or of a Department of the Treasury law enforcement organization.” If the Treasury

   Secretary intends to expend more than $500,000 under this authority, the Secretary must give the

   House and Senate Appropriations committees at least 15 days’ notice. See 31 U.S.C. § 9705(g)(4)(C).

III.       10 U.S.C. § 284

           10 U.S.C. § 284 states that “[t]he Secretary of Defense may provide support for the

   counterdrug activities . . . of any other department or agency of the Federal Government,” if requested

   by the relevant “official who has responsibility for [such] counterdrug activities.” 10 U.S.C. § 284(a),

   (a)(1)(A). This support includes express authority for “[c]onstruction of roads and fences and

   installation of lighting to block drug smuggling corridors across international boundaries of the United

   States.” Id. § 284(b)(7). This authority may be invoked at any time and does not require a declaration

   of national emergency.

          Congress first provided DoD this authority in the National Defense Authorization Act for

   Fiscal Year 1991. Pub. L. No. 101-510, § 1004, 104 Stat. 1485 (1991). As a specific fiscal year

   appropriation, § 1004 had to be periodically renewed to continue DoD’s authority to support counter-

   drug activities. See, e.g., Pub. L. No. 107-107, § 1004, 115 Stat. 1012 (2001). Not only did Congress

   regularly renew § 1004, it frequently praised DoD’s involvement in building barrier fences along the

   southern border and allocated additional funds to DoD to encourage its support of counter-drug

   construction projects. For example, in 1993, Congress “commend[ed]” DoD’s efforts to reinforce

   the border fence along a 14-mile drug smuggling corridor in the San Diego-Tijuana border area, calling

   the project “precisely the kind of federal-local cooperative effort the Congress had in mind in enacting

   section 1004.” H.R. Rep. No. 103-200, at 330–31, 1993 WL 298896 (1993). Government officials

   and Congress alike have noted the particular importance of DoD’s involvement in southern border

   enhancement projects to prevent drug smuggling. See Hr’g Before the S. Comm. on Armed Servs.

   Subcomm. on Emerging Threats and Capabilities, 1999 WL 258030 (Apr. 27, 1999) (Test. of Barry R.


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  McCaffrey, Dir. of the Office of Nat’l Drug Control Policy) (testifying about the “vital contributions”

  made by DoD to construct barrier fencing along the southern border); see, e.g., H.R. Rep. No. 110-

  652, 420 (2008) (recommending a $5 million increase to DoD’s funding to continue construction of a

  southern border fence, which was described as an “invaluable counter-narcotics resource”). In light

  of the continuing “threat posed by the production and trafficking of heroin, fentanyl . . . , and other

  illicit drugs” across our nation’s borders, Congress permanently codified § 1004 at 10 U.S.C. § 284 in

  December 2016, directing DoD “to ensure appropriate resources are allocated to efforts to combat

  this threat.” H.R. Rep. No. 114-840, 1146 (2016).

IV.      10 U.S.C. § 2808

         First enacted as part of the 1982 Military Construction Authorization Act, Pub. L. No. 97-99,

  § 903, 95 Stat. 1359 (1981), and later amended by the Military Construction Codification Act of 1982,

  Pub. L. No. 97-214, § 2, 96 Stat. 153 (codifying 10 U.S.C. §§ 2801–08), 10 U.S.C. § 2808(a) provides:

         In the event of a declaration of war or the declaration by the President of a national
         emergency in accordance with the National Emergencies Act (50 U.S.C. 1601 et seq.)
         that requires use of the armed forces, the Secretary of Defense, without regard to any
         other provision of law, may undertake military construction projects, and may
         authorize the Secretaries of the military departments to undertake military construction
         projects, not otherwise authorized by law that are necessary to support such use of the
         armed forces. Such projects may be undertaken only within the total amount of funds
         that have been appropriated for military construction, including funds appropriated
         for family housing, that have not been obligated.

  In enacting this provision, Congress recognized that “it is impossible to provide in advance for all

  conceivable emergency situations” and wanted to fill “a gap that now exists with respect to

  restructuring construction priorities in the event of a declaration of war or national emergency.” H.R.

  Rep. No. 97-44, at 72 (1981).

         The term “military construction” as used in § 2808 “includes any construction, development,

  conversion, or extension of any kind carried out with respect to a military installation, whether to

  satisfy temporary or permanent requirements, or any acquisition of land or construction of a defense


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access road (as described in section 210 of title 23).” 10 U.S.C. § 2801(a). Congress in turn defined

the term “military installation” to mean “a base, camp, post, station, yard, center, or other activity

under the jurisdiction of the Secretary of a military department or, in the case of an activity in a foreign

country, under the operational control of the Secretary of a military department or the Secretary of

Defense, without regard to the duration of operational control.” Id. § 2801(c)(4).

        Presidents have invoked the military construction authority under § 2808 on two prior

occasions. First, President George H.W. Bush authorized the use of § 2808 in 1990 following the

Government of Iraq’s invasion of Kuwait. See Exec. Order No. 12722, 55 Fed. Reg. 31803 (Aug. 2,

1990); Exec. Order No. 12734, 55 Fed. Reg. 48099 (Nov. 14, 1990). Second, President George W.

Bush invoked § 2808 in response to the terrorist attacks against the United States on September 11,

2001. See Proc. No. 7463, 66 Fed. Reg. 48199 (Sept. 14, 2001); Exec. Order No. 13235, 66 Fed. Reg.

58343 (Nov. 16, 2001). The national emergency declaration stemming from the terrorist attacks of

September 11, 2001, remains in effect today, see 83 Fed. Reg. 46067 (Sept. 10, 2018), and DoD has

used its § 2808 authority to build a wide variety of military construction projects, both domestically

and abroad, over the past 17 years, see Cong. Research Serv., Military Construction Funding in the

Event of a National Emergency at 1–3 & tbl. 1 (updated Jan. 11, 2019) (listing projects worth $1.4

billion performed domestically and abroad using § 2808 between 2001 and 2014).

                                       PLAINTIFFS’ CLAIMS

        Plaintiffs are three nonprofit environmental groups: the Center for Biological Diversity;

Defenders of Wildlife; and the Animal Legal Defense Fund. Compl. ¶¶ 11–14. They bring this suit

against the President, the Acting Secretary of Defense, the Secretary of the Treasury, the Secretary of

Homeland Security, and the Acting Secretary of the Interior in their official capacities. Id. ¶¶ 17–21.

Operating under a claimed “non-statutory right of action,” id. ¶ 131, Plaintiffs allege violations of the

NEA, id. ¶¶ 131–35 (Count One); 10 U.S.C. § 2808, id. ¶¶ 137–44 (Count Two); 10 U.S.C. § 284, id.


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¶¶ 146–150 (Count Three); and 31 U.S.C. § 9705, id. ¶¶ 152–56 (Count Four). Plaintiffs also bring

constitutional claims pursuant to the Appropriations Clause, id. ¶¶ 158–61 (Count Five); and the Take

Care Clause, id. ¶¶ 163–65 (Count Six).

                                      STANDARD OF REVIEW

        Federal Rule of Civil Procedure 12(b)(1) requires dismissal of any claim over which a court

lacks subject-matter jurisdiction. The complaining party has the burden of establishing the predicates

to federal jurisdiction, including standing. See Public Citizen, Inc. v. Nat’l Highway Traffic Safety Admin.,

489 F.3d 1279, 1289 (D.C. Cir. 2007). In the absence of standing, a matter is not justiciable. See id.

Nor does a “justiciable ‘controversy’ exist[] when parties seek adjudication of a political question.” El-

Shifa Pharm. Indus. Co. v. United States, 607 F.3d 836, 841 (D.C. Cir. 2010) (en banc) (quoting

Massachusetts v. EPA, 549 U.S. 497, 516 (2007)). Although in evaluating Rule 12(b)(1) motions, the

court must accept well-pleaded factual allegations as true, “the district court may consider materials

outside the pleadings in deciding whether to grant a motion to dismiss for lack of jurisdiction.” Jerome

Stevens Pharm., Inc. v. Food & Drug Admin., 402 F.3d 1249, 1253 (D.C. Cir. 2005).

        Federal Rule of Civil Procedure 12(b)(6) mandates dismissal for failure to state a claim upon

which relief can be granted. To pass muster, a complaint must contain “sufficient factual matter” to

“state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A complaint that “tenders ‘naked assertion[s]’

devoid of ‘further factual enhancement’” warrants dismissal. Id. (quoting Twombly, 550 U.S. at 557).

Although a court must accept as true well-pleaded factual allegations and construe them in the light

most favorable to the plaintiff, it need not accept “legal conclusions” or “mere conclusory statements.”

Id. Neither is a court required to accept as true a complaint’s factual allegations if they “contradict

exhibits to the complaint or matters subject to judicial notice.” Kaempe v. Myers, 367 F.3d 958, 963

(D.C. Cir. 2004). In addition to the facts alleged, a court may consider “documents attached as exhibits


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  or incorporated by reference in the complaint or documents upon which the plaintiff’s complaint

  necessarily relies.” Cause of Action Inst. v. Eggleston, 224 F. Supp. 3d 63, 70 (D.D.C. 2016) (internal

  quotation marks and citation omitted).

                                              ARGUMENT

I.    The Court Lacks Jurisdiction.

          Plaintiffs’ complaint suffers from jurisdictional defects. First, Plaintiffs’ challenge to the

  President’s decision to issue the Proclamation is nonjusticiable, both because the NEA impliedly

  precludes judicial review and because the declaration of a national emergency raises a political question

 courts are not equipped to answer. Furthermore, the President must be dismissed as a party because

 there is no cause of action against the President, and Plaintiffs cannot obtain injunctive or declaratory

 relief against the President. Second, Plaintiffs lack standing to bring a claim pursuant to § 2808 because

 the Acting Secretary of Defense has not yet decided to undertake or authorize any barrier construction

 under § 2808. Accordingly, the Court should dismiss the claims alleging violations of the NEA (Count

 One) and § 2808 (Count Two) pursuant to Rule 12(b)(1).

          A.      Plaintiffs’ Challenge to the President’s Declaration of a National
                  Emergency Should Be Dismissed.

          This Court lacks subject-matter jurisdiction over Plaintiffs’ allegations concerning the NEA

 and the President’s Proclamation. Congress has placed no limitations on the President’s authority to

 declare a national emergency. Because the NEA does not define the term “national emergency,” the

 text and structure of the statute evidence Congress’s choice to leave this determination to the

 President, subject only to congressional oversight as provided by the NEA. Whether viewed as a

 statutory or separation-of-powers matter, the President is entitled to make a determination about what

 circumstances constitute a national emergency in the political process without judicial second guessing.




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                1.      The NEA Evidences Congress’s Intent to Preclude Judicial Review.

        The Supreme Court has instructed that in determining whether a statute “precludes judicial

review,” a court must examine the “express language” of the statute as well as “the structure of the

statutory scheme, its objectives, its legislative history, and the nature of the administrative action

involved.” Block v. Cmty. Nutrition Inst., 467 U.S. 340, 345 (1984). That Congress intended to preclude

judicial review need only be “fairly discernible” from the evidence. Id. at 351.

        Here, Congress’s intent to preclude judicial review is evidenced by the text of NEA, which

does not define the term national emergency or provide courts with any standards by which to evaluate

the President’s exercise of this authority. See 50 U.S.C. § 1621. The lack of a definition in the statute

reflects Congress’s intentional decision to leave to the President the determination about when and

under what circumstances to declare a national emergency. The absence of any judicially enforceable

remedy is further supported by the fact that the NEA establishes procedural and reporting guidelines

only that the President must follow when invoking other statutory authorities conditioned on a

national emergency declaration. See 50 U.S.C. §§ 1631, 1641. Accordingly, the NEA does not provide

a mechanism for litigants to have any role in the statutory process, let alone a role that Plaintiffs could

enforce in court. See United States v. Amirnazmi, 645 F.3d 564, 581 (3d Cir. 2011) (stating that the

“NEA places the onus on Congress to ensure emergency situations remain anomalous”).

        The lack of a judicial enforcement mechanism to challenge a national emergency declaration

is reinforced by the NEA’s exclusive remedial scheme for Congress to challenge through political

means the President’s determination that a particular national emergency exists. See 50 U.S.C. § 1622;

Middlesex Cty. Sewerage Auth. v. Nat’l Sea Clammers Ass’n, 453 U.S. 1, 15 (1981) (“In the absence of strong

indicia of a contrary congressional intent, we are compelled to conclude that Congress provided

precisely the remedies it considered appropriate.”). As explained above, Congress has the authority

to terminate a national emergency by enacting into law “a joint resolution.” 50 U.S.C. § 1622(a)(1).


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Further, the NEA expressly requires Congress to vote on whether to terminate the declared emergency

within six months of the President’s declaration and establishes expedited procedures for Congress to

vote on such a measure once a termination resolution is introduced. Id. § 1622(b), (c). Here, majorities

of both houses of Congress attempted to terminate the President’s national emergency declaration by

passing a joint resolution, but the President vetoed that measure, and there was insufficient support

for termination among members of Congress to override the President’s veto to enact the joint

resolution    into     law.        See    Summary,        H.J.   Res.     46,    116th     Cong.      (2019),

https://www.congress.gov/bill/116th-congress/house-joint-resolution/46. The fact that there was

insufficient congressional will to exercise its ability to terminate the Proclamation through the NEA’s

statutory procedures only underscores that this dispute should not be adjudicated by the Court. Cf.

Ariz. State Leg. v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2664 (2015) (“Having failed to prevail

in their own Houses, the suitors could not repair to the Judiciary to complain.”).

        Moreover, when Congress had the opportunity to change the oversight structure of the NEA

in response to the Supreme Court’s Chadha decision that declared the “legislative veto”

unconstitutional, Congress notably changed the termination threshold from a “concurrent resolution,”

which does not involve Presidential approval, to a “joint resolution,” which requires either Presidential

approval or adequate congressional support to override a Presidential veto in order to be enacted. 4

See supra pp. 14–15. Congress could have instituted a different mechanism, such as creating a judicial-

enforcement regime, but Congress did not adopt other alternatives. See Beacon Prods. Corp. v. Reagan,

814 F.2d 1, 4 (1st Cir. 1987) (Breyer, J.) (“This legislative history makes clear that Congress intended

to impose upon itself the burden of acting affirmatively to end an emergency.”). Instead, Congress



4
 The NEA’s “provision for termination by concurrent resolution is unconstitutional because, unlike
a joint resolution, termination by concurrent resolution would enable Congress to take legislative
action without presenting the action to the President for his signature.” Beacon Prods. Corp. v. Regan,
633 F. Supp. 1191, 1196 (D. Mass. 1986), aff’d, 814 F.2d 1 (1st Cir. 1987); see supra note 3.
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gave itself the power to oversee the President’s use of statutory emergency authority, and there is no

basis on which to create a new judicial remedy on top of Congress’s carefully crafted framework.

Where, as here, the statute expressly provides Congress with authority to terminate a national

emergency, it is “an ‘elemental canon’ of statutory construction that . . . courts must be especially

reluctant to provide additional remedies.”         Karahalios v. Nat’l Fed’n of Fed. Emps., Local 1263,

489 U.S. 527, 533 (1989) (citations omitted).

        Further, the NEA was the product of a multi-year study by Congress to address the field of

national emergency authorities, and nothing in that extensive legislative history suggests that Congress

intended to allow judicial challenges to the President’s national emergency declarations. To the

contrary, the legislative history shows that Congress, not the courts, would be the branch of

government to oversee the President’s use of his emergency powers. See NEA Source Book at 338

(“every type and class of presidentially declared emergency will be subjected to congressional control”

and “the legislative branch will be in a position to assert its ultimate authority”); see also Block, 467 U.S.

at 349 (preclusion of judicial review may be implied from “specific legislative history” alone).

Moreover, given the President’s “unique position in the constitutional scheme,” Nixon v. Fitzgerald,

457 U.S. 731, 749–50 (1982), any remedial scheme where litigants could sue the President to challenge

a national emergency declaration would raise separation-of-powers concerns and create tension with

the Supreme Court’s admonition that federal courts have “no jurisdiction of a bill to enjoin the

President in the performance of his official duties.” Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 501

(1866). There is no indication in the legislative history that Congress gave consideration to those

weighty issues or concluded that such lawsuits against the President should proceed. See NEA Source

Book at 342 (stating that “there is [no] intent here to limit either the President’s power or flexibility to

declare a national emergency” and there is no intent to limit “the subject matter of the emergency or

the timing of its declaration”) (statements of Reps. Moorhead and Flowers). In the absence of clear

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direction from Congress, the Court should not imply a remedy that would conflict with longstanding

separation-of-powers principles.

        In light of the NEA’s text, structure, and legislative history, Congress has precluded judicial

review of the President’s national emergency Proclamation.

                2.       Plaintiffs’ Challenge to the President’s National Emergency
                         Declaration Presents a Nonjusticiable Political Question.

        Courts that have considered the issue have uniformly concluded that a Presidential declaration

of a national emergency is a nonjusticiable political question. See, e.g., Amirnazmi, 645 F.3d at 581

(“[F]ederal courts have historically declined to review the essentially political questions surrounding

the declaration or continuance of a national emergency.” (citation omitted)); United States v. Spawr

Optical Research, Inc., 685 F.2d 1076, 1081 (9th Cir. 1982) (“[W]e will not address these essentially-

political questions . . . .”). 5 Since passage of the NEA in 1976, there have been nearly 60 national


5
  See also Soudavar v. Bush, 46 F. App’x 731 (5th Cir. 2002) (per curiam) (affirming district court decision
dismissing a challenge to executive orders imposing national emergency sanctions on Iran as involving
a “nonjusticiable political question”); United States v. Yoshida Int’l, Inc., 526 F.2d 560, 573 (Cust. & Pat.
App. 1975) (courts will not “review the judgment of a President that a national emergency exists”);
Chichakli v. Szubin, 2007 WL 9711515, at *4 (N.D. Tex. June 4, 2007) (holding that a challenge to
President Bush’s declaration of a national emergency with respect to the “unstable situation” in Liberia
“presents a nonjusticiable political question”), aff’d in part, vacated in part, 546 F.3d 315 (5th Cir. 2008);
Beacon Prods. Corp. v. Reagan, 633 F. Supp. at 1194–45 (whether national emergency existed with respect
to Nicaragua presents a nonjusticiable political question), aff’d, 814 F.2d 1 (1st Cir. 1987); Sardino v.
Fed. Reserve Bank of N.Y., 361 F.2d 106, 109 (2d Cir. 1966) (concluding that President Truman’s
national emergency declaration concerning the situation in Korea is not justiciable and “courts will
not review a determination so peculiarly within the province of the chief executive”); Veterans &
Reservists for Peace in Vietnam v. Regional Comm’r of Customs, Region II, 459 F.2d 676, 679 (3d Cir. 1972)
(“[A] President’s declaration of national emergency is unreviewable.”); Santiago v. Rumsfeld, 2004 WL
3008724, at *3 (D. Or. Dec. 29, 2004) (holding that plaintiffs challenge to “whether the national
emergency declared by the President continues to apply to Afghanistan” has “raised an essentially
political issue” and “[c]ourts should refrain from ruling on such issues”), aff’d, 403 F.3d 702 (9th Cir.
2005) and 407 F.3d 1018 (9th Cir. 2005); United States v. Groos, 616 F. Supp. 2d 777, 788–89 (N.D. Ill.
2008) (“The court cannot question the President’s political decision” to declare a national emergency
regarding “unrestricted access of foreign parties to U.S. goods and technology”); Chang v. United States,
859 F.2d 893, 896 n.3 (Fed. Cir. 1988) (“[T]o the extent that the plaintiffs’ inquiry into the ‘true facts’
of the Libyan crisis would seek to examine the President’s motives and justifications for declaring a
national emergency, such an inquiry would likely present a nonjusticiable political question.”).


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emergencies declared by seven different Presidents, and even in the few instances where the

declarations have been challenged, see supra note 5, no court has ever reviewed the merits. 6 Plaintiffs’

request for this Court to take that unprecedented step is without merit, and this Court should not

depart from this long line of unbroken authority.

        “The political question doctrine excludes from judicial review those controversies which

revolve around policy choices and value determinations constitutionally committed for resolution to

the halls of Congress or the confines of the Executive Branch.” Japan Whaling Ass’n v. Am. Cetacean

Soc’y, 478 U.S. 221, 230 (1986). Both the separation-of-powers doctrine and the policy of judicial self-

restraint require that federal courts refrain from intrusion into areas committed by the Constitution to

the Legislative and Executive Branches of the Government. See Baker v. Carr, 369 U.S. 186, 217 (1962).

The Baker Court set forth the factors that a court is to consider in determining whether a particular

claim raises nonjusticiable political questions:

           Prominent on the surface of any case held to involve a political question is found
           a textually demonstrable constitutional commitment of the issue to a coordinate
           political department; or a lack of judicially discoverable and manageable
           standards for resolving it; or the impossibility of deciding without an initial
           policy determination of a kind clearly for nonjudicial discretion; or the
           impossibility of a court’s undertaking independent resolution without expressing
           lack of the respect due coordinate branches of government; or an unusual need
           for unquestioning adherence to a political decision already made; or the
           potentiality of embarrassment from multifarious pronouncements by various
           departments on one question.




6
  Past practice also belies Plaintiffs’ suggestion that this national emergency declaration is both
justiciable and invalid because the President stated that he “didn’t need” to issue the declaration and
“could do the wall over a longer period of time.” See Compl. ¶¶ 93, 133. A national emergency
declaration necessarily reflects an exercise of discretion, and Presidents have often chosen to declare
national emergencies to address circumstances that were neither new nor unforeseen at the time the
declaration issued. See supra pp. 12–14. No court has ever conducted the type of judicial second
guessing that Plaintiffs propose here by evaluating whether an emergency could have been addressed
without relying on emergency statutory authorities.
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Id. The existence of any one of these factors indicates the existence of a political question. Id. Here,

Plaintiffs’ assertion that the situation along the southern border does not constitute a national

emergency runs afoul of most, if not all, of these factors.

        First, there are no judicially manageable standards to ascertain whether or when to declare a

national emergency. As explained above, Congress intentionally chose not to define the term “national

emergency” and left that determination to the President, subject only to oversight from Congress. See

supra pp. 21–23. The NEA sets forth no criteria from which the Court could judge the President’s

action or make a determination about whether a particular issue constitutes a national emergency. See

Spawr Optical Research, 685 F.2d at 1080 (“The statute contained no standards by which to determine

whether a national emergency existed or continued.”). Plaintiffs ask the Court to take the remarkable

step of supplanting the President’s determination with the “courts’ own unmoored determination of

what United States policy toward [the southern border] should be.” Zivotofsky ex rel. Zivotofsky v. Clinton,

566 U.S. 189, 196 (2012). The Court could not decide this question “without first fashioning out of

whole cloth some standard for when” a national emergency “is justified.” El-Shifa Pharm. Indus. Co.,

607 F.3d at 845. To grant Plaintiffs’ requested relief, the Court would have to make, with no judicially

manageable standards to guide it, numerous political judgments about how the current humanitarian

and security crisis at the border impacts immigration policy, foreign relations, public safety, and

national security. “The judiciary lacks the capacity for such a task.” Id.

        Second, any such determinations would require precisely the sort of “policy determination of

a kind clearly for nonjudicial discretion” that the Supreme Court has indicated is a hallmark of a

political question. Baker, 369 U.S. at 217. As the Supreme Court has long recognized, illegal

immigration creates “significant economic and social problems” in the United States. United States v.

Brignoni-Ponce, 422 U.S. 873, 878 (1975); see also Plyler v. Doe, 457 U.S. 202, 237 (1982) (Powell, J.,

concurring) (recognizing illegal immigration to be “a problem of serious national proportions”). More

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recently, in Arizona v. United States, 567 U.S. 387 (2012), the Court emphasized that the problems posed

by illegal immigration “must not be underestimated” and credited evidence in the record of various

problems “associated with the influx of illegal migration across private land near the Mexican border,”

including “an epidemic of crime” and “safety risks.” Id. at 397–98 (citation omitted).

        The President has chosen to confront these and other challenges traceable to the current crisis

at the border by declaring a national emergency and invoking the express powers delegated to him by

Congress. See Proclamation. Under these circumstances, the Court cannot review the matter without

second-guessing the President’s policy determinations. Decisions “about how best to enforce the

nation’s immigration laws in order to minimize the number of illegal aliens crossing our borders

patently involve policy judgments about resource allocation and enforcement methods.” New Jersey v.

United States, 91 F.3d 463, 470 (3d Cir. 1996). These “issues fall squarely within a substantive area

clearly committed by the Constitution to the political branches; they are by their nature peculiarly

appropriate to resolution by the political branches of government both because there are no judicially

discoverable and manageable standards for resolving them.” Id. (citation omitted); see Sadowski v. Bush,

293 F. Supp. 2d 15, 19 (D.D.C. 2003) (“[D]eciding how to best enforce existing immigration laws and

policies and how to keep out illegal immigrants requires making policy judgments that are suited for

nonjudicial discretion . . . .”). Accordingly, the President’s Proclamation is not reviewable in this case.

        Third, the type of policy decisions that Plaintiffs ask this Court to make are entrusted to the

political branches, not the courts. “[T]he power to exclude aliens is inherent in sovereignty, necessary

for maintaining normal international relations and defending the country against foreign

encroachments and dangers—a power to be exercised exclusively by the political branches of the

government.” Kleindienst v. Mandel, 408 U.S. 753, 765 (1972). As the Supreme Court has explained:

           For reasons long recognized as valid, the responsibility for regulating the
           relationship between the United States and our alien visitors has been
           committed to the political branches of the Federal Government. Since decisions
           in these matters may implicate our relations with foreign powers, and since a
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           wide variety of classifications must be defined in the light of changing political
           and economic circumstances, such decisions are frequently of a character more
           appropriate to either the Legislature or the Executive than to the Judiciary.

Mathews v. Diaz, 426 U.S. 67, 81 (1976) (footnote omitted); see also Fiallo v. Bell, 430 U.S. 787, 792 (1977)

(“Our cases have long recognized the power to expel or exclude aliens as a fundamental sovereign

attribute exercised by the Government’s political departments largely immune from judicial control.”).

Moreover, “[t]he political branches are far better equipped (and more accountable to the people) for

making the types of decisions that arise in the military setting,” and “[j]udges have long respected this

allocation of powers.” Doe 2 v. Shanahan, 2019 WL 1086495, at *21 (D.C. Cir. Mar. 8, 2019) (Williams,

J., concurring). The President’s decision to declare a national emergency is a quintessential policy

decision in an area reserved to the political branches involving matters of immigration, foreign

relations, use of military forces, and national security. See, e.g., United States v. Delgado-Garcia, 374 F.3d

1337, 1345 (D.C. Cir. 2004) (“[T]his country’s border-control policies are of crucial importance to the

national security and foreign policy of the United States.”); Defs. of Wildlife, 527 F. Supp. 2d at 129

(construction of border barriers “pertains to both foreign affairs and immigration control—areas over

which the Executive Branch traditionally exercises independent constitutional authority”). There is

no basis for the Court to substitute its judgment for that of the President on these sensitive policy

issues that are nonjusticiable political questions.

                3.       The President Should Be Dismissed as a Party to this Lawsuit
                         Because There is No Cause of Action Against the President and
                         Plaintiffs Cannot Obtain Equitable Relief Against the President.

        Plaintiffs’ claims against the President suffer from separate and independent problems: there

is no cause of action against the President, and Plaintiffs may not obtain—and the Court may not

order—equitable relief directly against the President for his official conduct.

        Plaintiffs lack a cause of action to sue the President. The actions of the President are not

reviewable under the APA, see Dalton, 511 U.S. at 479, and likewise there is no implied equitable cause


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of action to do so. Although courts of equity may in some circumstances permit suits to “enjoin

unconstitutional actions by . . . federal officers,” Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378,

1384 (2015), the availability of such relief depends on whether it “was traditionally accorded by courts

of equity,” Grupo Mexicano De Desarrollo v. All. Bond Fund, 527 U.S. 308, 319 (1999). Here, there is no

tradition of equitable relief against the President. To the contrary, the Supreme Court recognized over

150 years ago in Mississippi v. Johnson that federal courts lack jurisdiction to “enjoin the President in the

performance of his official duties,” 71 U.S. at 501, a principle the Court reaffirmed more recently in

Franklin v. Massachusetts, 505 U.S. 788 (1992); id. at 827 (Scalia, J., concurring in part and concurring in

the judgment) (“apparently unbroken historical tradition supports the view” that courts may not order

the President to “perform particular executive . . . acts”).

        Moreover, the Supreme Court has twice held that causes of action that are available against

other government officials should not be extended to the President absent a clear statement by

Congress. See Nixon, 457 U.S. at 748 n.27 (declining to assume that Bivens and other implied statutory

damages “cause[s] of action run[] against the President of the United States”); Franklin, 505 U.S. at

801 (declining to find cause of action against the President under the APA “[o]ut of respect for the

separation of powers and the unique constitutional position of the President”). Accordingly, in the

absence of an express statutory cause of action against the President or a tradition of recognizing such

suits as a matter of equity, there is no basis for the Court to infer equitable relief against the President.

“The reasons why courts should be hesitant to grant such relief are painfully obvious” given the

President’s unique constitutional role and the potential tension with the separation of powers. Swan

v. Clinton, 100 F.3d 973, 978 (D.C. Cir. 1996). Further, the Supreme Court has taken a “traditionally

cautious approach to equitable powers, which leaves any substantial expansion of past practice to

Congress.” Grupo Mexicano, 527 U.S. at 329. Any expansion of an equitable remedy against the

President here would create separation-of-powers problems by usurping “the role of Congress in

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determining the nature and extent of federal-court jurisdiction under Article III.” See Ziglar v. Abbasi,

137 S. Ct. 1843, 1858 (2017).

        Lower courts have followed the logic of Franklin and Massachusetts by dismissing the President

as a defendant in civil cases and declining to impose either declaratory or injunctive relief against him

in his official capacity. See Int’l Refugee Assistance Project v. Trump, 857 F.3d 554, 605 (4th Cir. 2017) (“In

light of the Supreme Court’s clear warning that such relief should be ordered only in the rarest of

circumstances we find that the district court erred in issuing an injunction against the President

himself.”), vacated and remanded, 138 S. Ct. 353 (2017); Hawaii v. Trump, 859 F.3d 741, 788 (9th Cir.

2017) (“the extraordinary remedy of enjoining the President is not appropriate here”), vacated as moot,

138 S. Ct. 377 (2017); Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir. 2010) (“With regard to the

President, courts do not have jurisdiction to enjoin him, and have never submitted the President to

declaratory relief . . . .”); Doe 2 v. Trump, 319 F. Supp. 3d 539, 541 (D.D.C. 2018) (dismissing “the

President himself as a party to this case”).

        In any event, Plaintiffs could potentially obtain the relief they seek against the agency

Defendants because the gravamen of Plaintiffs’ complaint is that the agencies, not the President, will

construct or fund border barriers in excess of their statutory authorities or in violation of the

Constitution. Accordingly, in addition to the reasons explained above, the President should be

dismissed in order to avoid an unnecessary separation-of-powers conflict. See Swan, 100 F.3d at 978

(“In most cases, any conflict between the desire to avoid confronting the elected head of a coequal

branch of government and to ensure the rule of law can be successfully bypassed, because the injury

at issue can be rectified by injunctive relief against subordinate officials.”). 7



7
 Although district courts in some recent cases have declined to dismiss the President at the motion-
to-dismiss stage on grounds that doing so would be premature in light of uncertainty about the relief
that could be provided by the defendant agencies, that is not the situation here. See Centro Presente v.
DHS, 332 F. Supp. 3d 393, 418 (D. Mass. 2018); CASA de Maryland, Inc. v. Trump, 355 F. Supp. 3d
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        B.      Plaintiffs Cannot Establish Article III Standing to Challenge Future
                Border Barrier Construction Under § 2808.

        Plaintiffs lack standing to bring claims challenging border barrier construction under § 2808

because the Acting Secretary of Defense has not yet decided to undertake or authorize any barrier

construction projects under § 2808.

        Article III requires that cases be decided in the concrete context of an actual case or

controversy, not in the abstract. U.S. Const. art. III, § 2, cl. 1. And “a showing of standing is an

‘essential and unchanging’ predicate to any exercise of a court’s jurisdiction.” Fla. Audubon Soc’y v.

Bentsen, 94 F.3d 658, 663 (D.C. Cir. 1996) (en banc) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560

(1992)). To demonstrate standing, Plaintiffs must satisfy a three-pronged test. Sierra Club v. EPA, 292

F.3d 895, 898 (D.C. Cir. 2002) (citing Defs. of Wildlife, 504 U.S. at 560). First, Plaintiffs must have

suffered an injury-in-fact, defined as a harm that is “concrete and actual or imminent, not conjectural

or hypothetical.” Byrd v. EPA, 174 F.3d 239, 243 (D.C. Cir. 1999) (quoting Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 103 (1998)). Second, the injury claimed must be fairly traceable to the

governmental conduct alleged. Sierra Club, 292 F.3d at 898. No standing exists where the court

“would have to accept a number of very speculative inferences and assumptions in any endeavor to

connect the alleged injury with [the challenged conduct].” Winpisinger v. Watson, 628 F.2d 133, 139

(D.C. Cir. 1980). Finally, it must be likely that the requested relief will redress the alleged injury. Sierra

Club, 292 F.3d at 898.

        “An allegation of future injury may suffice if the threatened injury is ‘certainly impending,’ or

there is a ‘substantial risk’ that the harm will occur.” Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334,

2341 (2014) (quoting Clapper v. Amnesty Int’l, 568 U.S. 398, 414 n.5 (2013)). “[A]llegations of possible



307 (D. Md. 2018); Saget v. Trump, 345 F. Supp. 3d 287, 297 (E.D.N.Y. 2018). Here, in contrast,
there is no question that relief against the agencies would be sufficient to redress Plaintiffs’ claims
seeking to halt border barrier construction. See Swan, 100 F.3d at 978.
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future injury are not sufficient.” Clapper, 568 U.S. at 409 (citation omitted). By limiting the judicial

power to instances in which specific individuals have suffered concrete injuries, standing requirements

“serve[] to prevent the judicial process from being used to usurp the powers of the political branches.”

Id. at 408.

        Here, Plaintiffs cannot demonstrate a certainly impending injury because the Acting Secretary

of Defense has not yet decided to undertake or to authorize any barrier construction projects under

§ 2808. Declaration of Kenneth P. Rapuano, Assistant Secretary of Defense for Homeland Security

and Global Security (Rapuano Decl.) ¶¶ 4–5 (describing the internal review process DoD is

conducting to inform the Acting Secretary’s decision) (attached hereto as Ex. 1). Given the absence

of a decision by the Acting Secretary about § 2808 at this time, Plaintiffs are left with nothing but

allegations of contingent future injuries based on anticipated barrier construction in unidentified areas.

See Compl. ¶ 138.

        The fact that the President invoked § 2808 in the Proclamation is not sufficient to establish

certainly impending injury where the decision to undertake or authorize barrier construction projects

under § 2808 lies with the Acting Secretary of Defense. Article III jurisdiction cannot rest on

speculation that DoD may use § 2808 at some point in the future and might do so in a way that injures

Plaintiffs. It is entirely possible that no barrier projects funded by § 2808 will be built in any location

where Plaintiffs would have a claim to a cognizable injury. Accordingly, speculation about injuries

that might result from yet-to-be-identified barrier construction projects that might be funded under §

2808 is the type of “possible future injury” that is not sufficient to establish Article III jurisdiction.

See Clapper, 568 U.S. at 409.

        The nature of DoD’s decisionmaking regarding any future use of § 2808 further illustrates why

Plaintiffs lack standing to bring this claim. Before authorizing § 2808 construction, the Acting

Secretary of Defense will determine that the project is “necessary to support such use of the armed

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  forces.” 10 U.S.C. § 2808. That determination can be considered only within the context of the

  Acting Secretary of Defense authorizing specific military construction projects presented to him for

  approval; that process is ongoing. See Rapuano Decl. ¶ 4. Moreover, in order to fund any projects

  under § 2808, DoD will need to defer construction of an equal amount of appropriated, but

  unobligated, military construction projects, and consultation with the military departments is likewise

  ongoing. Id. ¶ 5. The Court should not decide Plaintiffs’ § 2808 claim in the abstract when these

  specific decisions have not been made, let alone made in a manner that would injure Plaintiffs. Given

  the absence of any concrete harm, Plaintiffs lack standing to pursue their § 2808 claim.

II.      Plaintiffs’ Ultra Vires Review and Constitutional Counts Do Not State a Claim
         on Which Relief Can Be Granted.

         In addition to the jurisdictional problems explained above, Plaintiffs fail to state a claim. First,

  Plaintiffs’ challenges to the Government’s actions under the NEA, § 2808, § 284, and § 9705 (Counts

  One, Two, Three, and Four) pursuant to a purported “non-statutory right of action to enjoin and

  declare unlawful Presidential action that is ultra vires” fail. They erroneously assert “Presidential

  action” where there is none. Moreover, they impermissibly pursue an implied nonstatutory cause of

  action where a proper statutory vehicle exists. But even if they could proceed pursuant to a

  nonstatutory cause of action to challenge “ultra vires” acts, the high standard to state such a claim is

  not met. Second, Plaintiffs’ constitutional claims under the Appropriations and the Take Care Clauses

  (Counts Five and Six) fail because those claims are nothing more than alleged statutory violations

  dressed in constitutional garb. At bottom, Plaintiffs’ artful pleading should be seen for what it is: an

  attempted end run around the typical rules for judicial review of agency action. The attempt is

  unsuccessful, and the complaint fails to state a claim under Rule 12(b)(6).




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        A.      Plaintiffs’ “Ultra Vires” Claims Must Be Dismissed.

                       1. Plaintiffs Fail To State a Claim for Ultra Vires Action Against the
                          President.

        Plaintiffs’ allegations of ultra vires statutory action appear to be directed solely against the

President. They allege that the Proclamation violated the NEA “[b]ecause there is no national

emergency across the southern border,” Compl. ¶ 134, and that “the President’s invocation” of 10

U.S.C. § 2808, 10 U.S.C. § 284, and 31 U.S.C. § 9705 “was unlawful Presidential action,” id. ¶¶ 143,

149, 155. As explained above, no suit for equitable relief can be maintained against the President. But

even if it could be, Plaintiffs have failed to state any claim for ultra vires action against the President.

The only action the President took here is to declare a national emergency pursuant to the NEA, and

any claim that the President violated the NEA should be dismissed as nonjusticiable. Separately, the

President is not responsible for administering § 2808, § 284, or § 9705, nor do Plaintiffs allege that the

President has taken any action pursuant to these statutes. On these facts alone, Plaintiffs have failed

to state a claim against the President for violations of § 2808, § 284, or § 9705.

        That Plaintiffs allege Presidential “invocation” of these statutes does not alter this result. As

an initial matter, the President invoked only § 2808 in the Proclamation. See Proclamation. A White

House Fact Sheet explained that funds from the TFF and funds available under § 284 were also

available for border wall construction. See Compl. ¶ 1 (citing Fact Sheet 1). These sources of funding

were not invoked in the Proclamation, nor is their use predicated on a national emergency declaration.

See 10 U.S.C. § 284; 31 U.S.C. § 9705. But even the President’s invocation of § 2808 is not actionable

because it did nothing more than “ma[ke] available . . . to the Secretary of Defense” the construction

authority § 2808 provides. See Proclamation.

        Regardless, whether the President invoked or otherwise requested action pursuant to these

statutes, without more, is not actionable. That is because the statutes provide the Secretaries, not the

President, with authority to act. Cf. Nat’l Ass’n of Gov. Emps. v. Fed. Labor Relations Auth., 179 F.3d 946,

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950 (D.C. Cir. 1999) (“[I]f the President orders the Secretary of State to terminate an employee, the

order does not effect the termination—only the Secretary of State can terminate an employee whom

the Secretary was statutorily authorized to appoint.”). The authority to execute § 2808 and § 284 is

granted to the Secretary of Defense. See 10 U.S.C. § 2808(a); 10 U.S.C. § 284(a). Likewise, the Secretary

of the Treasury has the authority to utilize the TFF under 31 U.S.C. § 9705(a). The Secretaries

determine how to act pursuant to the statutes—not the President. The complaint therefore fails to

state a claim of statutory violation against the President, and Plaintiffs’ claims of “unlawful Presidential

action” in violation of § 2808, § 284, and § 9705, should be dismissed.

                       2. Plaintiffs Must Raise Their Statutory Challenges Under the APA.

        Given that Plaintiffs’ claims of ultra vires statutory violations allege “unlawful Presidential

action” only, it is unclear whether Plaintiffs intend to challenge the agencies’ compliance with the

statutes. Assuming they do, Plaintiffs’ claims against the agency heads are properly raised pursuant to

the APA only—not a purported “non-statutory right of action.” 8

        At bottom, under a generous reading of the complaint, Plaintiffs challenge the decision to

allocate funds pursuant to 31 U.S.C. § 9705, 10 U.S.C. § 284, and 10 U.S.C. § 2808 for the purpose of

border wall construction. The APA provides a cause of action for any person “adversely affected or

aggrieved by agency action.” 5 U.S.C. § 702. Through the APA, Congress conferred express

jurisdiction on reviewing courts to “hold unlawful” agency action that is “not in accordance with law,”

and “in excess of statutory jurisdiction, authority, or limitations.” Id. § 706(2)(A), (C). Here, Plaintiffs

seek precisely the type of review Congress provided in the APA—review of decisions made pursuant

to authority under §§ 9705, 284, and 2808. Yet Plaintiffs do not allege any violation of the APA or



8
 As previously noted, the President’s actions are not reviewable pursuant to the APA. Franklin, 505
U.S. at 801 (plurality opinion). Justice Scalia observed in Franklin that suits against agency officials is
the proper means of challenging Presidential action. See id. at 828 (Scalia, J., concurring in part and
concurring in the judgment).
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identify another statutory cause of action under which to pursue their claims.

        Instead, Plaintiffs bring their claims pursuant to a purported nonstatutory right of action to

obtain equitable relief for ultra vires action. Compl. ¶¶ 131, 137, 146, 152. But Plaintiffs cannot

invoke the doctrine of nonstatutory review for the actions complained of here. Courts may review

agency action under an independent ultra vires cause of action only when the plaintiff would otherwise

be “wholly deprive[d]” of a “meaningful and adequate means of vindicating its statutory rights” and

when Congress has not precluded judicial review. Bd. of Governors of Fed. Reserve Sys. v. MCorp Fin., Inc.,

502 U.S. 32, 43–44 (1991) (citing Leedom v. Kyne, 358 U.S. 184 (1958)); see also Chamber of Commerce v.

Reich, 74 F.3d 1322, 1327 (D.C. Cir. 1996). As a result, “a Leedom v. Kyne claim is essentially a Hail

Mary pass—and in court as in football, the attempt rarely succeeds.” Nyunt v. Chairman, Broad. Bd. of

Governors, 589 F.3d 445, 449 (D.C. Cir. 2009).

        Plaintiffs have not been “wholly deprive[d]” of a means for review of their claims so long as

APA review is available. See Puerto Rico v. United States, 490 F.3d 50, 59–60 (1st Cir. 2007); Wise v.

Glickman, 257 F. Supp. 2d 123, 127 n.1 (D.D.C. 2003). And given the availability of the APA, this is

not “a proper case” for courts to provide the “judge-made remedy” of an implied cause of action in

equity to enjoin action by public officials. Armstrong, 135 S. Ct. at 1384 (stating that the “power of

federal courts of equity to enjoin unlawful executive action is subject to express and implied statutory

limitations” and holding plaintiffs could not “circumvent” statutory restrictions “by invoking our

equitable powers”). Indeed, inferring a cause of action under the Court’s judicial power is a

“significant step under separation-of-powers principles” because it intrudes upon “Congress, [which]

has a substantial responsibility to determine” whether suit should lie. Ziglar, 137 S. Ct. at 1856. There

is no basis for the Court to take that step here in light of Congress’s intent for claims such as these—

i.e., that Defendants have exceeded their statutory authority—to be reviewed under the APA.

Accordingly, Plaintiffs’ ultra vires claims—Counts One, Two, Three, and Four—should be dismissed

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even if they challenge more than the mere “invocation” of the statutes at issue.

                3.      Plaintiffs Have Not Alleged Any Ultra Vires Actions.

        Even if the Court were to determine that the ultra vires framework is properly applied to

Plaintiffs’ claims, their allegations do not support a finding of ultra vires actions. Courts review ultra

vires claims under a “very stringent standard” and such claims “rarely succeed.” Nyunt, 589 F.3d at

449; see also Trudeau v. FTC, 456 F.3d 178, 189–90 (D.C. Cir. 2006). To give rise to such a claim, the

agency must “patently . . . misconstru[e]” a statute, “disregard[] a specific and unambiguous statutory

directive,” or “violate[] some specific command of a statute.” Griffith v. FLRA, 842 F.2d 487, 494

(D.C. Cir. 1988) (internal citations and quotation marks omitted). Unless an agency violated a “clear

and mandatory” statutory provision, ultra vires review is not warranted. Nat’l Air Traffic Controllers

Ass’n AFL-CIO v. FSIP, 437 F.3d 1256, 1264 (D.C. Cir. 2006) (NATCA) (quoting Leedom, 358 U.S. at

188). Mere allegations that the agency improperly exercised its authority are not enough to justify

ultra vires review. See, e.g., Mittleman v. Postal Regulatory Comm’n, 757 F.3d 300, 307–08 (D.C. Cir. 2014).

Plaintiffs’ allegations fall well short of meeting this high standard.

                        a.       31 U.S.C. § 9705

        Plaintiffs’ allegations regarding the TFF are insufficient to support a claim of ultra vires agency

action. Plaintiffs allege that TFF funds are “earmarked by law for specific purposes” under 31 U.S.C.

§§ 9705(a)(1) and (2), Compl. ¶¶ 54–56, and that “an emergency source of funding for border wall

construction” is not one, id. ¶ 153. In doing so, Plaintiffs fail to acknowledge § 9705(g)(4)(B), which

authorizes the Secretary of the Treasury to distribute TFF funds not only for the specific purposes

listed in § 9705(a), but also for “obligation or expenditure in connection with law enforcement

activities of any Federal agency.” 31 U.S.C. § 9705(g)(4)(B); see also Fact Sheet 2. That construction

of a border wall is not specifically listed in § 9705(a) is irrelevant to the determination of whether the

Secretary of the Treasury lawfully exercised this authority to distribute TFF funds for law enforcement


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activities.

         Plaintiffs do not contest that construction of a barrier at the border is a law enforcement

activity. Nor could they. CBP was established to “ensure the interdiction of persons and goods

illegally entering or exiting the United States,” “interdict . . . persons who may undermine the security

of the United States,” and “safeguard the borders of the United States,” among other duties. 6 U.S.C.

§ 211(c)(2), (5), (6); see Arizona, 567 U.S. at 397. Moreover, Congress has recognized that barriers

prevent unlawful entries by aliens and smuggling of contraband across the border, see Secure Fence

Act of 2006, Pub. L. No. 109-367, §§ 2–3, 120 Stat. at 2638–39, and thus help enforce the laws that

prohibit such activities, e.g., 8 U.S.C. § 1325 (improper entry by an alien); 18 U.S.C. § 545 (smuggling

goods); 21 U.S.C. § 865 (smuggling methamphetamine).

                        b.      10 U.S.C. § 284

         Nor have Plaintiffs pleaded facts sufficient to infer plausibly that Defendants have violated

the “clear and mandatory” language of 10 U.S.C. § 284. See NATCA, 437 F.3d at 1264. Plaintiffs

allege that use of § 284 in an emergency situation is unlawful because that provision allows the military

to assist civilian law enforcement agencies in non-emergency situations only. Compl. ¶¶ 147, 149.

They base this claim on the “broader statutory structure of the military and immigration codes,” id.

¶ 149, alleging that other provisions of Title 10 state exclusively the emergency situations in which the

military may provide support, id. ¶ 141 (citing 10 U.S.C. §§ 282, 283). Plaintiffs also contend that

Congress considered in the Immigration and Nationality Act the urgency of mass migration of aliens

near the border and limited the Government’s permissible response to cooperation with local law

enforcement. Id. ¶ 142 (citing 8 U.S.C. § 1103(a)(10)). Plaintiffs’ claim fails for two reasons.

         First, the claim is grounded on the inaccurate premise that § 284 is being invoked pursuant to

the national emergency declaration. It is not. See Proclamation at 2. Funds to be transferred under

§ 284 are “additional funds” that will be made available for barrier construction at the southern border.


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See Fact Sheet 1. Such use of § 284 is consistent with the statute’s plain language, which does not

predicate its use on a national emergency. Nor does § 284 include “clear and mandatory” language

precluding its use where a separate, but related, national emergency is concurrently declared.

        Second, even accepting Plaintiffs’ faulty premise, their attempt to constrain the scope of § 284

runs contrary to well-established canons of statutory construction. The other provisions of Title 10

Plaintiffs cite do not concern national emergency declarations. The relevance of those provisions is

therefore tenuous at best. Moreover, Plaintiffs ignore that § 284, on its face, independently authorizes

DoD to provide support to DHS’s counterdrug activities regardless of whether a national emergency

declaration has occurred. There is no reason for the Court to infer that because Congress provided

for military or other support to federal enforcement activities during certain types of “emergency” or

“urgent” situations, that it meant all other support to be unavailable in the event of a national

emergency declaration. See Mercy Hosp., Inc. v. Azar, 891 F.3d 1062, 1069 (D.C. Cir. 2018). Instead,

each provision Plaintiffs cite provides for different types of military or other support in different

situations under different requirements. There is no inherent conflict between these independent

provisions and § 284, and Plaintiffs have not shown that Congress intended to limit use of § 284 to

“non-emergency” circumstances. When statutory provisions “‘are capable of co-existence, it is the

duty of the courts, absent a clearly expressed congressional intention to the contrary, to regard each

as effective.’” FCC v. NextWave Pers. Commc’ns Inc., 537 U.S. 293, 304 (2003) (quoting J.E.M. AG

Supply, Inc. v. Pioneer Hi–Bred Int’l, Inc., 534 U.S. 124, 143–144 (2001)). That is the case here.

        In any event, Plaintiffs have not adequately alleged that Defendants “patently . . .

misconstru[e]” § 284 or have “disregarded” its “specific and unambiguous . . . directive[s].” Griffith,

842 F.2d at 493. The fact that they cannot point to a violation of “clear and mandatory” language in

§ 284—and instead attempt to infer constraints on Defendants’ § 284 authority by reference to other

statutory sections—only proves that Plaintiffs’ allegations are insufficient to state a claim to relief

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under the extraordinary standard applied to an ultra vires claim. NATCA, 437 F.3d at 1264.

                          c.      10 U.S.C. § 2808

        Plaintiffs’ claim of ultra vires agency action in violation of 10 U.S.C. § 2808 likewise fails. As

explained above, the Acting Secretary of Defense has not yet decided to undertake or authorize any

barrier construction projects under § 2808. This fact mandates dismissal of Plaintiffs’ § 2808 claim

both because it creates a jurisdictional defect and because, without a decision by the Acting Secretary

to undertake or authorize barrier construction projects pursuant to § 2808, there has been no violation

of § 2808, much less a clear and egregious violation of the sort necessary to enjoin agency action under

ultra vires review. See NATCA, 437 F.3d at 1264.

        But even putting aside this threshold issue, Plaintiffs have not alleged a violation of any “clear

and mandatory” language in § 2808. See id. They claim that § 2808 “does not provide an emergency

source of funding for border wall construction” because such activity is not “military construction,”

and because the national emergency does not require the use of the armed forces. Compl. ¶¶ 138–39.

But nowhere do Plaintiffs point to a “specific and unambiguous statutory directive” that Defendants

have disregarded. See Griffith, 842 F.2d at 494. And they cannot. The statute does not include such

clear and mandatory language. Instead, § 2808 provides the Secretary of Defense with authority to

“undertake military construction projects” that are “necessary to support such use of the armed

forces.” 10 U.S.C. § 2808(a). The statute provides no guidance as to the meaning of what projects

would be “necessary to support such use of the armed forces.” And this type of discretionary military

decision is “better left to those more expert in issues of defense” and not subject to judicial second-

guessing. See, e.g., Dist. No. 1, Pacific Coast Dist., Marine Engineer’s Beneficial Ass’n v. Maritime Admin., 215

F.3d 37, 41–42 (D.C. Cir. 2000); see also NFFE v. United States, 905 F.2d 400, 405–06 (D.C. Cir. 1990)

(“[T]he federal judiciary is ill-equipped to conduct reviews of the nation’s military policy.”). Although

“military construction project” is a statutorily defined term, its definition is broad and illustrative, not


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specific or exclusive. See 10 U.S.C. § 2801(b). The term “military construction” is similarly broadly

defined to “include[] any construction . . . of any kind carried out with respect to a military installation.”

Id. § 2801(a) (emphasis added). A “military installation,” in turn, “means a base, camp, post, station,

yard, center, or other activity under the jurisdiction of a Secretary of a military department.” Id.

§ 2801(c)(4) (emphasis added). Plaintiffs offer no explanation as to how any construction undertaken

pursuant to the expansive provisions of § 2808 would contravene clear and mandatory statutory

language. Accordingly, Plaintiffs have not met the strict standard to state an ultra vires cause of action

with respect to § 2808.

        B.      Plaintiffs’ Constitutional Claims Must Be Dismissed.

        Plaintiffs raise various constitutional challenges to the Executive and agency actions at issue

here. But these counts merely recast Plaintiffs’ statutory claims in constitutional terms, and “claims

simply alleging that the President has exceeded his statutory authority are not ‘constitutional’ claims.”

Dalton, 511 U.S. at 473. The Government is not relying on independent Article II authority in order

to undertake border construction; the actions alleged are being undertaken pursuant to statutory

authority alone. The President did not seek to reallocate appropriated funds based upon any claim of

inherent constitutional authority. Nor did the President claim that the declaration of a national

emergency gave him any authority that had not been expressly conferred by Congress. Rather, the

Government relies solely upon available statutory authorities—31 U.S.C. § 9705, 10 U.S.C. § 284, and

10 U.S.C. § 2808—that Congress has delegated to the Executive. The outcome of this case thus turns

on whether the statutes authorize the Government’s action. Because disagreements about how to

construe statutes do not raise constitutional problems, Counts Five and Six should be dismissed.

        Dalton disposes of Plaintiffs’ constitutional claims. In Dalton, the Supreme Court specifically

rejected the proposition that “whenever the President acts in excess of his statutory authority, he also

violates the constitutional separation-of-powers doctrine.” Id. at 471. The Court instead recognized


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that the “distinction between claims that an official exceeded his statutory authority, on the one hand,

and claims that he acted in violation of the Constitution, on the other, is too well established to permit

this sort of evisceration.” Id. at 474.

        By asserting that actions that allegedly exceed statutory authority are, for that reason alone,

constitutional violations, Plaintiffs’ complaint does precisely what the Court disapproved of in Dalton.

Plaintiffs assert no constitutional violation separate from the alleged statutory violations. They do not

allege that the Government’s compliance with the statutes at issue would be unconstitutional. Instead,

Plaintiffs assert that Defendants violated the statutes. For example, Plaintiffs’ Appropriations Clause

claim hinges on the assertion that the Government “unlawfully reallocate[d] money without satisfying

the requirements of 10 U.S.C. § 2808, 31 U.S.C. § 2293, or 31 U.S.C. § 9705.” Compl. ¶ 160. In the

same vein, Plaintiffs’ Take Care Clause claim turns on the conclusory allegation that the President and

agencies did not “faithfully execute” the statutes at issue. Id. ¶ 164. These bare allegations of ultra

vires statutory actions do not state constitutional claims. See Dalton, 511 U.S. at 473–74.

        Plaintiffs do not allege that the President has exercised his inherent authority under Article II

of the Constitution. Nor does the President purport to do so. Despite Plaintiffs’ allusions, see

Compl. ¶¶ 67–68, this case stands in sharp contrast to Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

579 (1952), in which the President issued an order directing the Secretary of Commerce to seize the

nation’s steel mills relying solely upon “the aggregate of his powers under the Constitution,” thereby

conceding a lack of statutory authority. Id. at 585–87. The Court held the action unconstitutional.

Id. at 589. In his concurrence, Justice Jackson emphasized that the President had acted in the absence

of congressional authorization, where his “power is at its lowest ebb” and such exercise of power

must be “scrutinized with caution.” Id. at 637–38 (Jackson, J. concurring). That is not the situation

here. To the contrary, each action—including the Proclamation—is based on express statutory

authority. The President and his agents are acting “pursuant to an express . . . authorization of

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Congress,” the situation in which “his authority is at its maximum.” Id. at 635 (Jackson, J. concurring).

Youngstown is therefore inapposite. See AFL-CIO v. Kahn, 618 F.2d 784, 787 (D.C. Cir. 1979) (en banc);

see also Dalton, 511 U.S. at 473.

        If Plaintiffs’ allegations were found to rise to the level of constitutional issues, then every

allegation that the President or his agents exceeded their statutory authority in some way could be

repleaded as a constitutional separation-of-powers claim. The Supreme Court has foreclosed such

tactics, recognizing their inconsistency with well-established precedent “distinguish[ing] between

claims of constitutional violations and claims that an official has acted in excess of his statutory

authority.” Dalton, 511 U.S. at 472. Because where “the President concedes . . . that the only source

of his authority is statutory, no constitutional question whatever is raised,” this Court should dismiss

all constitutional counts. 9 Id. at 474 n.6. (internal quotation marks omitted).

                                           CONCLUSION

        For these reasons, Plaintiffs’ complaint should be dismissed in full pursuant to Rules 12(b)(1)

and 12(b)(6). 10

Dated: April 2, 2019
                                                     Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     JOHN R. GRIFFITHS
                                                     Director, Federal Programs Branch


9
  Even if this Court were to determine that the Complaint stated a constitutional cause of action,
challenges to the constitutionality of agency action must be brought pursuant to the APA. See 5 U.S.C.
§ 706(2)(B); see also, e.g., Jarita Mesa Livestock Grazing Ass’n v. U.S. Forest Serv., 58 F. Supp. 3d 1191,
1237–38 (D.N.M. 2014). The APA’s procedural strictures apply to such constitutional challenges. See,
e.g., Jarita Mesa, 58 F. Supp. 3d at 1237–38; Harvard Pilgrim Health Care of New Eng. v. Thompson, 318 F.
Supp. 2d 1, 10–11 (D.R.I. 2004).
10
  This judicial district does not provide a procedure to notice a motion on the Court’s calendar for a
hearing; however, upon the completion of briefing, Defendants stand ready to appear for argument
at the Court’s earliest convenience.
                                                    43
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                Exhibit 1
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                EXHIBIT A
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  DECLARING A NATIONAL EMERGENCY CONCERNING THE SOUTHERN BORDER
                      OF THE UNITED STATES



        BY THE PRESIDENT OF THE UNITED STATES OF AMERICA

                            A PROCLAMATION


     The current situation at the southern border presents

a border security and humanitarian crisis that threatens

core national security interests and constitutes a national

emergency.   The southern border is a major entry point for

criminals, gang members, and illicit narcotics.         The problem

of large-scale unlawful migration through the southern border

is long-standing, and despite the executive branch's exercise

of existing statutory authorities, the situation has worsened

in certain respects in recent years.       In particular, recent

years have seen sharp increases in the number of family units

entering and seeking entry to the United States and an inability

to provide detention space for many of these aliens while their

removal proceedings are pending.      If not detained, such aliens

are often released into the country and are often difficult to

remove from the United States because they fail to appear for

hearings, do not comply with orders of removal, or are otherwise

difficult to locate.    In response to the directive in my

April 4, 2018, memorandum and subsequent requests for support

by the Secretary of Homeland Security, the Department of Defense

has provided support and resources to the Department of Homeland

Security at the southern border.      Because of the gravity of the

current emergency situation, it is necessary for the Armed

Forces to provide additional support to address the crisis.

     NOW, THEREFORE, I, DONALD J. TRUMP, by the authority vested

in me by the Constitution and the laws of the United States

of America, including sections 201 and 301 of the National

Emergencies Act (50 U.S.C. 1601 et seq.), hereby declare that
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                                    2

a national emergency exists at the southern border of the

United States, and that section 12302 of title 10, United States

Code, is invoked and made available, according to its terms, to

the Secretaries of the military departments concerned, subject

to the direction of the Secretary of Defense in the case of

the Secretaries of the Army, Navy, and Air Force.         To provide

additional authority to the Department of Defense to support the

Federal Government's response to the emergency at the southern

border, I hereby declare that this emergency requires use of

the Armed Forces and, in accordance with section 301 of the

National Emergencies Act (50 U.S.C. 1631), that the construction

authority provided in section 2808 of title 10, United States

Code 1 is invoked and made available, according to its terms, to

the Secretary of Defense and, at the discretion of the Secretary

of Defense, to the Secretaries of the military departments.

I hereby direct as follows:

     Section   l·   The Secretary of Defense, or the Secretary of

each relevant military department, as appropriate and consistent

with applicable law, shall order as many units or members of the

Ready Reserve to active duty as the Secretary concerned, in the

Secretary's discretion, determines to be appropriate to assist

and support the activities of the Secretary of Homeland Security

at the southern border.

     Sec. 2.    The Secretary of Defense, the Secretary of the

Interior, the Secretary of Homeland Security, and, subject to

the discretion of the Secretary of Defense 1 the Secretaries of

the military departments, shall take all appropriate actions,

consistent with applicable law, to use or support the use of

the authorities herein invoked, including, if necessary, the

transfer and acceptance of jurisdiction over border lands.
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                                   3

     Sec. 3.   This proclamation is not intended to, and does

not, create any right or benefit, substantive or procedural,

enforceable at law or in equity by any party against the

United States, its departments, agencies, or entities, its

officers, employees, or agents, or any other person.

     IN WITNESS WHEREOF, I have hereunto set my hand this

fifteenth day of February, in the year of our Lord

two thousand nineteen, and of the Independence of the

United States of America the two hundred and forty-third.
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY;
DEFENDERS OF WILDLIFE; ANIMAL LEGAL
DEFENSE FUND,
                                                         Civil Action No. 1:19-cv-00408 (TNM)
                             Plaintiffs,

       v.

DONALD J. TRUMP, in his official capacity as
President of the United States of America; PATRICK
M. SHANAHAN, in his official capacity as Acting
Secretary of Defense; STEVEN MNUCHIN, in his
official capacity as Secretary of the Department of
Treasury; KIRSTJEN M. NIELSEN, in her official
capacity as Homeland Security Secretary; DAVID
BERNHARDT, in his official capacity as Acting
Secretary of the Interior,

                             Defendants.

                                    [PROPOSED] ORDER

       Upon consideration of Defendants’ Motion to Dismiss, it is hereby ORDERED that the

Motion is GRANTED.

       SO ORDERED.


Dated: _______________, 2019


                                               TREVOR N. McFADDEN
                                               United States District Judge
